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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
             vs.                            )               8:05CR162
                                            )
GENARO FAVALA RAMIREZ,                      )                 ORDER
                                            )
                    Defendant.              )


       The Motion to Withdraw as Counsel of Record (Filing No. 196) is scheduled for
hearing before the undersigned magistrate judge at 1:30 p.m. on July 26, 2006, in
Courtroom No. 7, Second Floor, Roman L. Hruska United States Courthouse, 111 South
18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 19th day of July, 2006.


                                        BY THE COURT:


                                        s/ Thomas D. Thalken
                                        United States Magistrate Judge
